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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF SOUTH DAKOTA
                           SOUTHERN DIVISION

 DAKOTANS FOR HEALTH and                )
 RICK WEILAND,                          )                4:25-cv-04050-CCT
                                        )
                    Plaintiffs,         )
                                        )
      vs.                               )
                                        )             MOTION TO CONTINUE
 SECRETARY OF STATE MONAE               )           HEARING ON MOTION FOR
 JOHNSON, in her official capacity      )           PRELIMINARY INJUNCTION
 only,                                  )
                                        )
                    Defendant.          )


      COMES NOW, the above-named Defendant, Secretary of State Monae

Johnson (hereinafter “Secretary”), by and through her undersigned counsel,

Grant M. Flynn, Assistant Attorney General, and hereby moves this Court for a

continuance of the hearing scheduled in this matter on Plaintiffs’ Motion for a

Preliminary Injunction on Monday, June 23, 2025, which Defendant

respectfully requests be granted based on the analysis set forth in Defendant’s

Brief in Support of Motion to Continue Hearing on Motion for Preliminary

Injunction, which is submitted under separate cover and incorporated herein

by reference.

      Dated this 16th day of June, 2025.


                                     /s/ Grant M. Flynn
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